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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT



    DAVID GRANATA,

                              Plaintiff,                         Case No. 3:21-cv-01657-SVN

          v.

    PRATT & WHITNEY, A DIVISION OF
    RAYTHEON TECHNOLOGIES                                        January 25, 2022
    CORPORATION; et al.,

                              Defendants.



                                              STATUS REPORT

         Pursuant to the Court’s January 18, 2022, Consolidation Order (ECF No. 44), Plaintiffs in

the Consolidated Action submit this Status Report.1




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  The Court consolidated the following actions: Granata v. Pratt & Whitney et al., 3:21-cv-01657-SVN; Conroy et
al. v. Agilis Engineering et al., 3:21-cv-01659-SVN; Balicoco v. Pratt & Whitney et al., 3:21-cv-01673-SVN; Kintz
v. Engineering, Inc. at al., 3:21-cv-01674-SVN; Chapman v. Quest Global Services NA, Inc. et al., 3:21-cv-01681-
SVN; Durbin v. Pratt & Whitney Inc. et al., 3:21-cv-01682-SVN; Powers v. Agilis Engineering, Inc. et al., 3:21-cv-
01691-SVN; Boodram v. Agilis Engineering, Inc. et al., 3:21-cv- 01701-SVN; Tucker v. Pratt & Whitney Division et
al., 3:21-cv-01704-SVN; Mamigonian v. Agilis Engineering, Inc. et al., 3:21-cv-01721-SVN; Brooks-Bey et al. v.
Raytheon Technologies Corporation et al., 3:21-cv-01723- SVN; Lillie v. Agilis Engineering, Inc. et al., 3:21-cv-
01724-SVN; Cydylo v. Agilis Engineering, Inc. et al., 3:21-cv- 01730-SVN; Renteria v. Agilis Engineering, Inc. et
al., 3:21-cv-01736-SVN; McIsaac v. Quest global Services NA, Inc. et al., 3:21-cv-01737-SVN; Borozny et al. v.
Agilis Engineering, Inc. et al., 3:22-cv-00032-SVN; Doe v. Raytheon Technologies Corp. et al., 3:22-cv-00035-
SVN; Waid-Jones v. Agilis Engineering, Inc. et al., 3:22-cv- 00058-SVN; Gaskill et al. v. Agilis Engineering, Inc. et
al., 3:22-cv-00071-SVN; Wilson et al. v. Raytheon Technologies Corporation et al., 3:22-cv-00062-SVN; and Ivaldi
v. Agilis Engineering, Inc. et al., 3:22-cv-00097-SVN. Collectively, these matters are referred to as the
“Consolidated Action.” Several other related cases (the “Related Actions”) have been filed in this District:
Lancaster et al. v. Agilis Engineering, Inc. et al., 3:22-cv-00051-SLM; Dowe v. Quest Global Services-NA, Inc. et
al., 3:22-cv-00063-SALM; Roe et al. v. Agilis Engineering, Inc. et al., 3:22-cv-00086-JBA; Leavitt v. Agilis
Engineering, Inc. et al., 3:22-cv-00103-VAB; and McMahon v. Agilis Engineering, Inc. et al., 3:22-cv-00115-OAW.
Plaintiffs expect that the Related Actions will be transferred to this Court and consolidated along with the
Consolidated Action. Signatories to this Status Report include all Plaintiffs’ counsel for the Consolidated Action and
the Related Actions.
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        Plaintiffs’ counsel in the Consolidated Action have met and conferred to address: (1) if

there are any objections to the Court appointing interim class counsel at this time; and (2) who

Plaintiffs believe is best suited to be interim class counsel. Plaintiffs agree that it is appropriate

for the Court to appoint interim class counsel at this time, but do not agree on who is best suited

to be interim class counsel. Accordingly, counsel for Plaintiffs will submit competing proposals

for interim class counsel by February 1, 2022, addressing the factors set forth in Federal Rule of

Civil Procedure 23(g).

Date: January 25, 2022                              Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

       This is to certify that on January 25, 2022, a copy of the foregoing was filed

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filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system and

by mail to all parties that are unable to accept electronic filing. Parties may access this filing

through the Court’s electronic system.

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